Case 2:10-cv-02339-JLS-CW Document 17 Filed 09/03/10 Page 1 of 3 Page ID #:117



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   6 Attorneys for Defendants CYNTHIA MORGAN
     And RICHARD MORGAN
   7

   8
                                   UNITED STATES DISTRICT COURT
   9

  10                              CENTRAL DISTRIST OF CALIFORNIA

  11

  12 MARTIN FAMILY TRUST, a trust, and CASE NO.: 2:10-cv-02339-JST-CW
     DARLENE MARTIN, an individual and trustee,
  13                                            NOTICE OF MOTION AND MOTION OF
                         Plaintiffs,
                                                DEFENDANTS CYNTHIA MORGAN AND
  14                                            RICHARD MORGAN TO DISMISS
           vs.
  15                                            ACTION FOR FORUM NON
     CHRISTIAN RESEARCH INSTITUTE, INC, a CONVENIENS
  16 Delaware non-profit corporation, CYNTHIA
     MORGAN, an individual, and RICHARD
                                                [POINTS & AUTHORITIES AND
  17 MORGAN, an individual,                     DECLARATION OF CYNTHIA MARTIN
                         Defendants.            FILED CONCURRENTLY]
  18
  19                                                  DATE: October 4, 2010
                                                      TIME: 10:00 am
  20                                                  COURTROOM: 10A
                                                      HON. JOSEPHINE STATON TUCKER
  21

  22
              TO PLAINTIFFS MARTIN FAMILY TRUST AND DARLENE MARTIN, AND THEIR
  23

  24 ATTORNEYS OF RECORD:

  25
              PLEASE TAKE NOTICE that on October 4, 2010, at 10:00 am or as soon thereafter as
  26
       counsel may be heard in Courtroom 10A of this Court located at 411 West Fourth Street, Santa
  27

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                 NOTICE OF MOTION AND MOTION TO DISMISS ACTION FOR FORUM NON-CONVENIENS
                                                    1
Case 2:10-cv-02339-JLS-CW Document 17 Filed 09/03/10 Page 2 of 3 Page ID #:118



   1 Ana, California 92701-4516, Defendants CYNTHIA MORGAN and RICHARD MORGAN will

   2 move the court for an Order dismissing this action on the basis of forum non conveniens.

   3
              The motion is brought on the ground that the forum chosen by Plaintiffs is oppressive and
   4
       vexatious to all Defendants, and particularly Defendants CYNTHIA MORGAN and RICHARD
   5
       MORGAN, who are citizens of the State of Minnesota, and do not reside in the State of California.
   6
       Given that the overwhelming preponderance of witnesses and evidence is located in Minnesota or
   7

   8 North Carolina, the appropriate alternate forum would either be Minnesota, where movants reside,

   9 or North Carolina, where co-defendant CHRISTIAN RESEARCH INSTITUTE is located. The

  10 convenience to plaintiffs of proceeding with a venue in the Central District of California is

  11
       overwhelmingly outweighed by the inconvenience to Defendants and the Court of proceeding in
  12
       this forum.
  13
              This motion will be based on this notice, the concurrently filed Memorandum of Points and
  14

  15 Authorities and Declarations of CYNTHIA MORGAN and RICHARD MORGAN, and on such

  16 evidence and argument which the court may entertain at the hearing of this motion.

  17 DATED: September 3, 2010                   LEIST LAW GROUP, LLP
  18
  19
                                                By: /s/ Jeffrey J. Leist
  20                                                Jeffrey J. Leist, Esq.
                                                    Eric N. Riezman, Esq.
  21                                                Attorneys for Defendants Cynthia Morgan And
                                                    Richard Morgan
  22

  23

  24

  25

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                     NOTICE OF MOTION AND MOTION TO DISMISS ACTION FOR FORUM NON-CONVENIENS
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Case 2:10-cv-02339-JLS-CW Document 17 Filed 09/03/10 Page 3 of 3 Page ID #:119



   1 MARTIN FAMILY TRUST, ET AL., v. CHRISTIAN RESEARCH INSTITUTE, INC.., ET AL.
     CASE NO. 2:10-cv-02339-JST-CW
   2
                                          PROOF OF SERVICE
   3
     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   4
            I am over the age of eighteen years and not a party to the case. I am employed in the
   5 County of Los Angeles, California and my business address is 111 North Sepulveda Boulevard,

   6 Suite 250, Manhattan Beach, CA 90266.
     On September 3, 2010, I served the foregoing document described as MEMORANDUM OF
   7
     POINTS & AUTHORITIES IN SUPPORT OF MOTION OF DEFENDANTS CYNTHIA
   8 MORGAN AND RICHARD MORGAN TO DISMISS ACTION FOR FORUM NON
     CONVENIENS on the interested parties in this action as follows:
   9
     Vic. Y. Lin
  10 Innovation Capital Law Group, LLP
     19900 MacArthur Blvd., Suite 1150
  11
     Irvine, CA 92612
  12
     Garth M. Drozin
  13 Soltman, Levitt, Flaherty & Wattles LLP
     2535 Townsgate Road, Suite 307
  14 Westlake Village, CA 91361

  15
       The document(s) was/were served by the following means (specify):
  16
      [ X ] By e-mail or electronic transmission. Based on a court order or an agreement of the parties
  17 to accept service by e-mail or electronic transmission, I caused the documents to be sent to the
     persons at the e-mail addresses listed above. I did not receive, within a reasonable time after the
  18 transmission, any electronic message or other indication that the transmission was unsuccessful.
  19          [ ]    (State)        I declare under penalty of perjury under the laws of the State of
  20                                California that the above is true and correct.

  21          [X ]   (Federal)      I declare that I am employed in the office of a member of the bar of
                                    this court at whose direction the service was made.
  22
     I declare that I am employed in the office of a member of the bar of this court at whose direction
  23 the service was made.

  24          Executed on September 3, 2010, at Manhattan Beach, California.
              I declare under penalty of perjury under the laws of the State of California that the
  25
       foregoing is true and correct.
  26
                                                      /s/
  27
                                                      Jeffrey Leist
  28

                                           PROOF OF SERVICE
